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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:16-CR-3039

vs.
                                                           ORDER
RAHMAN M. NABAVI AND ISABEL
M. MALLAR,

                  Defendants.

       This matter is before the Court on the government's motion (filing 63)
to extend the response deadline for the defendants' objections (filing 58, filing
60) to the Magistrate Judge's findings and recommendation (filing 56) that
the defendants' motions to suppress (filing 24, filing 25) be denied. The
motion for an extension of time is unopposed, and based on the showing set
forth in the motion, the Court finds that it should be granted.

      IT IS ORDERED:

      1.    The government's Motion for Extension of Time (filing 63)
            is granted.

      2.    The government may respond to defendant Nabavi's
            objection (filing 58) and defendant Mallar's motion to
            dismiss (filing 60) on or before April 3, 2017.

      3.    As to both defendants, trial of this case is continued
            pending resolution of the defendants' pretrial motions.

      4.    The ends of justice served by granting the motion to
            continue outweigh the interests of the public and the
            defendant in a speedy trial, and

            a. As to both defendants, the additional time arising as a
               result of the granting of the motion shall be deemed
               excludable time in any computation of time under the
               requirements of the Speedy Trial Act, because although
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             counsel have been duly diligent, additional time is
             needed to adequately address the defendants' pretrial
             motions and prepare this case for trial, and failing to
             grant additional time might result in a miscarriage of
             justice. See 18 U.S.C. § 3161(h)(1) and (h)(7).

          b. Failing to timely file an objection to this order as
             provided in the local rules of this Court will be deemed a
             waiver of any right to later claim the time should not
             have been excluded under the Speedy Trial Act.

    Dated this 13th day of March, 2017.

                                         BY THE COURT:



                                         John M. Gerrard
                                         United States District Judge




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